                     Case 1-17-40104-cec          Doc 50        Filed 08/21/17        Entered 08/21/17 15:52:37




                                               RANDALL S. D. JACOBS, PLLC
                                                            -   ATTORNEY AT LAW-
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 ADMITTED IN:
THE STATE OF NEW YORK                                30 WALL STREET, 8TH FLOOR                                     5 HAMPTON COURT
UNITED STATES DISTRICT COURTS, SDNY & EDNY                                                                        NORTH CALDWELL
THE 2ND CIRCUIT COURT OF APPEALS
                                                   NEW YORK, NEW YORK 10005-3817                               NEW JERSEY 07006-4701
THE 9TH CIRCUIT COURT OF APPEALS                       TELEPHONE: (212) 709-8116                            TELEPHONE: (973) 226-3301
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                                                           August 18, 2017


                                                                                    Filed Electronically

            The Hon. Carla E. Craig, C. J.
            U. S. Bankruptcy Court, EDNY
            271C Cadman Plaza, Suite 1595
            Brooklyn, NY 11201

                                                     Re:        IN RE PRIME SIX INC., 17-40104
                                                                Filing Date for Plan and Disclosure Statement

            Dear Chief Judge Craig:

                       The undersigned represents the chapter 11 Debtor, Prime Six, Inc. (the “Debtor”).

                    The Court may recall that at the end of the last hearing held in this case on or about July
            25, 2017, on the Debtor’s pending Motion to Assume its Lease, Mr. Doyaga, appearing on behalf
            of the Landlord, indicated that he had heard the Court’s comments from the Bench, but that
            apparently I could not, with respect to filing of the Stipulation between the Landlord and the
            Debtor.

                    Following that discussion, I heard the Court indicate its desire for the Debtor to file its
            Plan and Disclosure Statement and suggest what I had heard as September 19, 2017 as the filing
            date thereof. At that time, I was aware that the Debtor’s sole stockholder, officer and director was
            shortly going to leave for an extended family trip to Israel and would not be available until after
            Labor Day; accordingly, I believed the “September 19, 2017 filing” date to be sufficient time in
            which to prepare and file the Plan and Disclosure Statement for this Debtor.

                   At the same time, I have been heavily involved in both a chapter 11 case (recently
            dismissed) with multiple parties from the chapter 11 case continuing litigation in a Federal RICO

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                                RANDALL S. D. JACOBS, PLLC
The Hon. Carla E. Craig, CUSBJ
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       action in the Eastern District before Judge Spatt. Multiple motions to dismiss and for other relief
       together with a detailed briefing schedule for all of them have been set and amended in that case
       and I knew I would be completely involved during August therein. For both those reasons, I
       indicated to the Court that I thought that the September 19, 2017 filing date I heard would
       provide the Debtor herein with sufficient time to file its Plan and Disclosure Statement.

               Today, I concluded negotiations with counsel for the IRS, Edwin Cortes, Esq., who also
       appeared at that last July hearing, upon agreeing to terms for adequate protection payments to the
       IRS in a stipulation which has been accepted by the U.S. Trustee’s Office. In discussing the filing
       of the Stipulation, Mr. Cortes asked if I was going to file the Plan and Disclosure Statement
       today as well. I responded that he was incorrect and that it was not due until September 19, 2017.
       He replied with a copy of the Docket entry for the last Court hearing and, to my shock and
       surprise, for the first time I realized that the Court had directed that the Plan and Disclosure
       Statement were to be filed today, August 18, 2017.

              I quickly contacted your Chambers by email addressed to Tracie Leonard who I
       discovered is out on vacation. I spoke with Sheree Jackson about this apparent misunderstanding
       on my part. She suggested that I file this letter explaining the problem to the Court.

              Accordingly, I apologize to the Court for this inconvenience and I hereby request that the
       Court grant the Debtor an additional 31 days to file its Plan and Disclosure Statement by
       September 19, 2017 and to schedule the hearing thereon in conformity with the Bankruptcy
       Rules, as soon as the Court’s calendar allows.

                                                            Very truly yours,


                                                            /s/ Randall S. D. Jacobs
                                                                  Randall S. D. Jacobs

       RSDJ/zo
       Enclosures (2)
       cc: Akiva Ofshtein, Esq., (via PDF Attachment to direct email)
           Edwin Cortes, Esq. (via PDF Attachment to direct email)
           Marylou Martin, Esq., Office of the US Trustee (via PDF Attachment to direct email)


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